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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


   E.K. and S.K., minors, by and through their
   parent and next friend LINDSEY KEELEY;
   O.H., S.H., and H.H., minors, by and through         Case No. 1:25-cv-00637-PTG-IDD
   their parent and next friend JESSICA
   HENNINGER; E.G., a minor, by and through             Hon. Patricia Tolliver Giles
   his parent and next friend MEGAN
   JEBELES; E.Y. and C.Y., minors, by and
   through their parent and next friend ANNA
   YOUNG; L.K., L.K., and L.K., minors, by
   and through their parent and next friend
   ANNA KENKEL; and M.T., a minor, by and
   through her parent and next friend NATALIE
   TOLLEY,

                              Plaintiffs,

   v.

   DEPARTMENT OF DEFENSE
   EDUCATION ACTIVITY; DR. BETH
   SCHIAVINO-NARVAEZ, in her official
   capacity as Director of the Department of
   Defense Education Activity; and PETER
   BRIAN HEGSETH, in his official capacity as
   Secretary of Defense,

                              Defendants.


    DECLARATION OF LINDSEY KEELEY IN SUPPORT OF PLAINTIFFS’ MOTION
                     FOR PRELIMINARY INJUNCTION

  I, Lindsey Keeley, declare as follows,

         1.      I am more than 18 years old, competent to be a witness, and the facts set forth in

  this declaration are based on my own personal knowledge.

         2.      I am married to an active-duty service member stationed in Quantico, Virginia. I

  am employed as a clinical pharmacist at a hospital in Northern Virginia.

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         3.      My husband and I have been married since 2011. We have been together through

  five duty stations at various locations across the United States. I have learned from experience that

  being part of a military family calls for sacrifice. My children and I have endured long separations

  while my husband has been deployed throughout Europe and the Middle East. These deployments

  included combat operations against Taliban forces in Afghanistan and against the Islamic State in

  Iraq and the Levant (ISIL) in Iraq.

         4.      We have two children. S.K. is in first grade and E.K. is in fourth grade. Both have

  attended Crossroads Elementary School since August 2023. Crossroads is a Quantico DoD

  Educational Activity (DoDEA) school in Virginia.

         5.      We expect our children to be eligible for DoDEA schools through high school, and

  for our family's relationship with DoDEA schools to continue. My husband recently received

  accompanied orders overseas where DoDEA schools are the primary available English-language

  schools. He could serve for an additional ten years at his current rank, meaning that our children

  could attend DoDEA schools through high school wherever my husband’s service takes us.

         6.      Our family has enjoyed our experience with DoDEA schools. DoDEA schools

  consistently perform well on National Assessment for Education Progress (NAEP) rankings and

  metrics, and our experience has been positive. We have had a great rapport with our children’s

  teachers. Student-teacher ratios, teaching methods, and curricular materials have all been excellent

  for our children.

         7.      Since President Trump’s Executive Orders targeting Diversity, Equity, and

  Inclusion, however, we have become very concerned with the negative impacts to our children’s

  current and future education in DoDEA schools.




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         8.      S.K. (our first grader) is very creative. She enjoys art and music and loves to

  illustrate stories. She even creates illustrations of her math problems in the margins of her

  worksheets. S.K.’s teachers at DoDEA support and encourage her creativity and have been

  responsive to all of our questions about S.K.’s education needs and learning style in the classroom.

         9.      E.K. (our fourth grader) is a strong reader, who enjoys socializing. She often talks

  about the diverse interactions school provides for her. E.K.’s favorite place at school is in the

  library, where the librarian is E.K.’s former third grade teacher. The librarian fosters E.K.’s love

  of reading. E.K. especially enjoys checking out and taking home books from the library’s student

  section, which has stories on a wide array of topics.

         10.     As a child, I attended public schools in a small town in Oklahoma, where my mother

  taught elementary school for forty years. I have seen recent news reports about the “culture wars”

  in Oklahoma public schools and its current public-school commissioner, but my experience as a

  student in the 1990s and early 2000s was very positive. I credit the balanced education I received,

  including in math and science, with helping me successfully complete my graduate education in

  pharmacy studies. I was also exposed to viewpoints and experiences that were different from my

  own, which helped me become a well-rounded student.

         11.     My husband’s education as a child was very different. He was homeschooled in a

  politically conservative, religious household that followed a ‘classical Christian education’ model.

  Expanding the narrow viewpoint this provided has been one of the defining challenges of his adult

  life, and it is important to us, as parents, that our children be afforded a school experience more

  similar to mine.

         12.     My husband’s educational experience was very similar to the model Secretary of

  Defense Pete Hegseth proposes in his 2022 book, Battle for the American Mind: Uprooting a



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  Century of Miseducation. Because my husband grew up in a similar school environment, we know

  that it is not the kind of academic model we want for our children. We value and respect different

  viewpoints and do not want our children to attend a school that forces them to accept a single,

  often religious, orthodoxy. Instead, my husband and I want our children to enjoy an inclusive and

  science-based education like the one I received. I am deeply concerned DoDEA schools will

  transform to comply with the education model centered on religion described in Secretary

  Hegseth’s book.

         13.     While I understand that my spouse, as an active-duty service member, signed away

  many of his First Amendment rights, our kids should not be treated like second-class citizens. They

  have the same rights as everyone else, including at school.

         14.     Earlier this year, the White House issued two Executive Orders that DoDEA has

  cited as justification for the changes we are starting to see in our school. Those Executive Orders

  are Order No. 14168, Defending Women from Gender Ideology Extremism and Restoring

  Biological Truth to the Federal Government; and Order No. 14190, Ending Radical Indoctrination

  in K-12 Schooling.

         15.     Additionally, on January 27, 2025, the White House issued Executive Order No.

  14185, Restoring America’s Fighting Force (collectively, with Executive Orders 14168 and 14190,

  the “Executive Orders”). Two days later, on January 29, 2025, my husband received an all-hands

  email attaching a memorandum from Secretary Hegseth. The memorandum, also called “Restoring

  America’s Fighting Force,” placed a “[p]rohibition on Instruction on Critical Race Theory, Gender

  Ideology, and [Diversity, Equity, and Inclusion],” specifically forbidding any DoD element, which

  includes the DoDEA school my children attend, from providing instruction on these topics.




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         16.     On February 5th, 2025, DoDEA Headquarters directed all schools to immediately

  remove from use several DoDEA-adopted instructional resources (including curriculum modules

  and library books) as part of an ongoing compliance review, as set forth in a memorandum. The

  memorandum included an attachment listing resources for removal and it also mandates educators

  and school leaders to identify additional materials for removal. The memorandum does not provide

  a timeline for reviewing materials for compliance, but it is my understanding that students at

  DoDEA schools will not have access to any of the flagged materials while they are under review.

  The impact on our children, E.K. and S.K., therefore, will be immediate.

         17.     On February 7, 2025, additional guidance was issued directing at least one

  additional DoDEA region—DoDEA Europe, which is where my husband and our family will be

  stationed beginning this summer—to implement the Executive Orders and the related directives.

  A true and correct copy of this guidance, obtained pursuant to my family’s DoDEA Freedom of

  Information Act (FOIA) request #25-F-0015, is attached as Exhibit A.

         18.     On February 10, 2025, our family received a letter from DoDEA Director Dr. Beth

  Schiavano-Narvaez confirming that DoDEA was complying with DoD guidance prohibiting use

  of official resources to mark cultural awareness months. This was the first time I heard about actual

  changes taking place at DoDEA schools, including that students’ access to certain items was

  already being restricted. A true and correct copy of Dr. Schiavano-Narvaez's February 10 letter is

  attached as Exhibit B.

         19.     On February 20, 2025, my husband attended the Quantico School Advisor Council.

  I wanted to attend but was unable to do so because the meeting took place in the middle of the

  workday.     A true and correct copy of the February 20, 2025, meeting minutes is attached as

  Exhibit C.



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         20.     During the meeting, my husband, in his personal capacity as a parent, asked for

  clarification about Dr. Schiavano-Narvaez’s February 10 letter. Specifically, he asked for a list of

  titles that had been removed from the library. He also asked for confirmation that DoDEA

  maintained its academic integrity and independence as the curriculum was brought into

  compliance with the various executive orders; he posed a specific hypothetical, asking whether

  DoDEA would have to teach that the world was flat if it had been instructed to do so. Lastly, my

  husband asked for general transparency as the process unfolded. During that meeting, parents were

  told that the school could not “celebrate cultural things.”

         21.     The District Superintendent said at the meeting that all communications regarding

  the items under review would come from DoDEA Headquarters. She also confirmed that there was

  virtually no academic independence from DoD guidance, even in the case of the hypothetical

  regarding the flat-world conspiracy theory.

         22.     We have repeatedly asked DoDEA administrators for updates, beginning on

  February 11, 2025—just one day after Dr. Schiavano-Narvaez’s letter first alerted us that changes

  were underway. To this day, we have received little-to-no specific information about any actions

  taken. We are frustrated by the lack of information. More importantly, I am familiar with 10 U.S.C.

  § 2164a (Rights of Parents in DoDEA Schools). I know that as a DoDEA parent, I have the right

  to view curriculum standards and to receive advance notification of changes to those standards.

  Despite this, we are facing an information void, in spite of our repeated requests for updates about

  our children’s education.

         23.     Our local school administrators have not answered our questions. Instead, they have

  referred us to the DoDEA Americas Public Affairs Officer (PAO). Rather than provide us with

  new information, however, the PAO has merely rehashed and paraphrased Dr. Schiavano-



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  Narvaez's February 10 letter. When we pressed for more, the PAO referred us to the DoDEA Civil

  Rights Division. Ms. Taylor York, the DoDEA Civil Rights Program Manager, told us the DoDEA

  was not obligated to allow parents full access to library holdings or listings until December 22,

  2025, citing the timelines identified in the FY2024 National Defense Authorization Act. A true

  and correct copy of email communications with Quantico CES administrators, DoDEA NY/VA

  Superintendent, DoDEA Americas PAO, and DoDEA Civil Rights Program and Compliance

  Branch is attached as Exhibit D.

         24.     At every turn, when we sought specific information about the changes impacting

  our children’s school, we were referred back to the verbiage in the Executive Orders. We were

  also told to submit FOIA requests to obtain information. Because we had anticipated it would be

  difficult to get information, my husband had already started this process, sending an initial FOIA

  request on February 11, 2025 (#25-F-00107). The February 11 FOIA requested lists of all books

  removed from my children’s school as of that date, as well as written records or minutes

  documenting the work of the DoDEA curriculum and instruction team that decided on the list for

  removal. As of the date of this declaration, the status of our February 11 FOIA is still listed as

  “Assigned for Processing.” The FOIA Office provided an interim response on April 18, 2025,

  estimating a fulfillment date of 18 May—more than 90 calendar days after submission. See

  Exhibit E.

         25.     Since the February 11 FOIA, my husband has filed five more FOIA requests. Of

  these six total requests, only two have been even partially fulfilled. Because I am familiar with the

  FOIA Statute and 10 U.S.C. § 2164a, I expected DoDEA to fulfill our FOIA requests.

         26.     At this point, we have attempted and exhausted every administrative recourse

  available to us in an attempt to get basic information about our children’s education. Yet still, we



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  have not received a satisfactory answer to the simple question: “What books are being removed

  from my children’s school library?”

         27.     What we do know, based on the little information provided to us, is that our

  children’s school curriculum has changed. For example, our older daughter (E.K.) is in fourth

  grade, and DoDEA has directed certain readings, including one titled, “A Nation of Immigrants,”

  to be removed from DoDEA schools’ fourth grade curricula. The only reason given for removing

  these materials is compliance with the Executive Orders.

         28.     I looked for, and did not find, any prior notification of this change to the curriculum

  or of Crossroads’ academic standards, on the DoDEA website or elsewhere, although as a keenly

  interested parent, I know such notification is required by 10 U.S.C. § 2164a. The impact on E.K.

  is immediate because she cannot access the reading at school during the compliance review period.

  With the school year nearing an end, she has forever lost the opportunity to learn about the text in

  an educational setting as part of her fourth-grade curriculum.

         29.     E.K., herself, noticed changes at her school and expressed her concern. In prior

  years, Crossroads has commemorated Black History Month by teaching about prominent Black

  figures and placing displays in the library for the entire month of February. Crossroads has also

  recognized March as Women’s History Month in prior years by teaching about the women’s rights

  movement and placing displays of historically significant women throughout the school.

         30.     This year, however, partway through February, E.K. noticed that the Black History

  Month displays had been taken down and that her school was no longer teaching about the history

  of Black people in the United States or even acknowledging February as Black History Month.

  This disappointed and upset E.K. because she has always enjoyed learning about historically and




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  culturally significant art, literature, and events associated with the Black community during the

  school year.

         31.     E.K. also noticed that Crossroads did not acknowledge March as Women’s History

  Month. As a mother of two young girls, I find this change incredibly alarming. I fear that the school

  is telling my children that the accomplishments of women no longer matter or that there is

  something wrong, or discriminatory, with celebrating achievements made by women throughout

  history, even in the face of adversity.

         32.     In the past, Crossroads provided my children with the opportunity to learn about

  culturally inclusive topics in an academic setting that included meaningful discussions with

  teachers and classmates. As a parent, I cannot replicate this type of academic environment at home,

  so it is important that I ensure my children are afforded the opportunity to benefit from a culturally

  rich curriculum in school. Now, however, both my children are being denied opportunities to learn

  about the history and culture of marginalized groups from teachers who are trained to help students

  from a variety of backgrounds understand the people and world around them.

         33.     While our children have noticed some changes in school, officials have refused to

  tell us what specific modifications have been implemented. Although DoDEA has directed certain

  readings to be removed from grade-level curricula, DoDEA has also mandated educators and

  school leaders to identify additional materials for removal and compliance review. This means that

  I still cannot answer with certainty E.K.’s repeated question, “What books have they removed?”

  from her favorite place in school—the library.

         34.     I have tried to determine which books have been removed from DoDEA schools

  because it is important for me to know what is included—or excluded—from my children’s

  curricula. I have seen social media and anonymous online postings indicating which books and



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other materials have been removed from DoDEA schools for “review” across various locations.

Based on my review of these lists, it appears dozens of titles have been removed from DoDEA

schools all over the world.

        35.      Changes to DoDEA school curricula under the Executive Orders and guidance are

also not being applied evenly. As an example, Dr. Schiavano-Narvaez’s February 10 letter

indicated that all cultural heritage months would be cancelled. Crossroads took down its Black

History Month display in February and did not commemorate Women’s History Month in March.

During those same months, however, Crossroads devoted resources (class time and spaces) to

commemorate Valentine’s Day, St. Patrick’s Day, and Easter. No such commemoration was held

for other culturally significant holidays such as Ramadan and Eid al-Fitr, although these also

occurred during recent weeks. Similarly, Lunar New Year, which was commemorated in 2024,

was not marked this year—a difference that even our first grader, S.K., commented on.

        36.      This has led me to believe that DoDEA schools are allowed to acknowledge some

culturally significant days or months (ones with Christian significance) while restricting others. I

do not want my children to be at a school that deprioritizes marginalized cultures. These actions,

however, are entirely consistent with Secretary Hegseth’s criticism of “Cultural Marxist”

influences and his promotion of “Western Christian” culture. 1

        37.      My family and I have also noticed and discussed that the DoDEA removal lists

include subjects and materials relating to gender. I understand this to be an attempt to comply with

Executive Order 14168, which states that “sex” is an “immutable” classification based on a

“biological classification as either male or female” not a person’s “gender identity.” (See EO 14168

Sec. 2(a).)


1
 Battle for the American Mind, pp. 172-174, 217, Chapter 11 entire, in reference to what he calls the “Western
Christian Paideia” versus the “Cultural Marxist Paideia.”

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       38.     From my training and work as a healthcare professional, I understand that scientific

research supports the conclusion that a person’s gender identity is separate (and sometimes

different) from a person’s biological sex assigned at birth. Erasing the entire dimension of gender

contradicts established science and adopts non-scientific ideology as “truth.” My profession is

based on science, and ignoring science in favor of ideology would lead to disastrous outcomes for

my patients. Because of my own educational and professional experience, it is extremely important

to me that my children’s education be grounded in science and the scientific method. A school

system that is divorced from scientific reality is not the kind of school system that I want for my

children.

       39.     This attempted deletion of gender identity also runs counter to my children’s direct

experience. E.K. and S.K. both know a number of queer or gender non-conforming people. We

have sought to raise our children to be open to, and accepting of, diversity across the range of

human experience, and this ideologically motivated push to erase diversity within the school

environment is entirely at odds with those goals.

       40.     No justification has been provided for these changes at my children’s school other

than the Executive Orders and related DoDEA directives. At no point has DoDEA conveyed that

the removed books or curriculum materials were inaccurate or age-inappropriate, and the

established procedures for book challenges and removal have not been applied. Nor has DoDEA

said that the removals are based on pedagogical evidence of any kind. Despite Executive Order

13985’s stated aim of “ending radical indoctrination,” the effect of the Executive Orders and

DoDEA directives has been to deny E.K. and S.K. access to diverse viewpoints in what feels like

an attempt to indoctrinate my children with an un-scientific and ahistorical set of ideas.




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        41.      The changes to the curricula in DoDEA schools have been done in haste and behind

closed doors, and officials have provided no pedagogical reason for the modifications. Based on

our family’s experience, the changes have resulted in applied academic standards being replaced

with ideological screenings, and I fear that my E.K. and S.K. can no longer obtain the type of

independent, well-rounded education to which they are entitled.

        42.      I do not want my children educated in a school system that substitutes ideology for

science, history, and current events. This approach will not make our children more competitive

in the workplace, in research, or in academia. Removing the cultural context of historical events

or teaching that it is un-American merely to observe that America’s founding documents are racist

and sexist 2 is similarly counter-factual and blinds our children to the various forces that have

shaped our country and global society throughout history, and into the present moment.

        43.      These actions are rapidly destroying the positive experience that we have enjoyed

at DoDEA. Our society already asks for tremendous sacrifices from the families of uniformed

servicemembers—asking us to also give up on a quality education for our children is a sacrifice

that we should never have to make.




I declare under penalty of perjury that the foregoing is true and correct. Executed on May 4, 2025.



                                                     Lindsey Keeley




2
  EO 14185, Restoring America’s Fighting Force. Obviously, if the Constitution had been neither racist nor sexist
there would have been no need for the 13th, 15th, 19th or 24th Amendments.

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            EXHIBIT A
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                         DEPARTMENT OF DEFENSE EDUCATION ACTIVITY
                                     HEADQUARTERS
                                             4800 MARK CENTER DRIVE
                                            ALEXANDRIA, VA 22350-1400

                                                                                   February 5, 2025

MEMORANDUM FOR DODEA DIRECTORS FOR STUDENT EXCELLENCE
                DODEA CHIEFS OF INSTRUCTIONAL LEADERSHIP DEVELOPMENT
                DODEA DISTRICT SUPERINTENDENTS
                DODEA COMMUNITY SUPERINTENDENTS
                DODEA INSTRUCTIONAL SYSTEMS SPECIALISTS
                DODEA REGION CHIEFS OF STAFF
                DODEA PRINCIPALS
                DODEA ASSISTANT PRINCIPALS
                DODEA EDUCATORS

SUBJECT: Administrative Operational Compliance Review of DoDEA Adopted Instructional Resources
          Related to Gender and/or Discriminatory Equity Ideology Topics

          To comply with the recent Executive Orders titled "Defending Women from Gender Ideology
Extremism and Restoring Biological Truth to the Federal Government" and "Ending Radical
Indoctrination in K-12 Schooling," DoDEA is conducting an operational compliance review to ensure
alignment with the applicable Executive Orders. As part of this review, DoDEA adopted instructional
resources potentially related to gender ideology or discriminatory equity ideology topics, as defined in the
Executive Orders, should not be utilized for instruction. Specific resources identified are in Attachment
A. A small number of links to external resources have been deactivated, but this should not impact routine
use of adopted resources for educators. Educators are expected to implement this directive immediately.
Principals must ensure that educators are aware of and comply with this instruction. If educators or school
leaders have a question about use of a specific resource not listed in Attachment A, please notify your
district ISS with the specific resource. District ISS should then share that information with their HQ ISS
counterpart to be added to the compliance review and notice will be provided if use of an instructional
resource should be discontinued.

        We will provide further guidance upon receipt of official instructions. As a federal agency, we are
committed to compliance with the Executive Orders and will ensure our policies and practices align
accordingly.

      For eneral questions about this guidance, not inquiries about specific resources, please contact
           Acting Chief of Curriculum and Instruction at/(b)(6)          dodea.edu or (b)(6)
HQ Elementary Content Program Manager at kb)(61        Pdodea.edu.

                                                         (b)(6)



                                                          Acting Chief Academic Officer
Attachment:
As stated

cc:
President, ACEA
President, FEA
Director, FEA-SR
President, OFT


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                                          Attachment A

The following list includes selected instructional resources that should not be used by DoDEA
educators during the operational compliance review.

 AP Psychology
 Company            Resource/Grade            i,,,,,-;,;,-
                                                        ,
                                                    e:Q -U-           Do not use this resource
 College Board      AP Psychology                 AP Psychology       Please exclude "gender
                                                                      identity" from learning
                                                                      objective 3.6.A.8 and
                                                                      excluding Module 32
                                                                      Gender and Sex
 McGraw Hill        AP Psychology             AP Psychology           Chapter 11 — Sexuality
                                                                      and Gender
 Elementary Social Studies
 Company          Resource/Grade              Course                  Do not use this resource
 TC1              Biographies K-5             Elementary SS           Albert Cashier, Civil
                                              Grade K-5               War Veteran
 TCI                G5 Western                Elementary SS           Section 4 Reading - How
                    Hemisphere: Lesson 7:     Grade 5                 Does Immigration Affect
                    Migration to the United                           the U.S.?
                    States Impact on
                    People and Places
 TCI                G4 Lesson 3: The        Elementary SS             Explore Reading - A
                    Peopling of the United Grade 4                    Nation of Immigrants
                    States
 Secondary ELA
 Company            Resource/Grade            Course       M          Do not use this resource
 11M 1 I            READ 180                  Strategic Literacy 6-   Independent Reading
                                              12                      Novel - Becomin. Nicole
 Secondary Health
 Company          Resource/Grade              Course                  Do not use this resource
 G-W              6th through 8th grade       Comprehensive           Comprehensive Health
                  Health                      Health Skills for       Skills for Middle School
                                              Middle School           Cha e ter 18.1
 Secondary Social Studies
 Company           Resource/Grade             Course                  Do not use this resource
 HMH ED            Grade 6: My Friend in      6th Grade Eastern       My Friend in Learning
                  Learning                    World                   Professional Learning.
                                                                      New for You Seasonal
                                                                      Bundle: Black History
                                                                      Month 2025
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                           DEPARTMENT OF DEFENSE EDUCATION ACTIVITY
                                           EUROPE
                                                  UNIT 29649
                                               APO AE 09136-9649


                                                                                          7 Feb 25


TO: DoDEA Europe Administrators and School-level Employees
To ensure compliance with executive orders and recent DoD guidance, the following must be adhered
to:
We will not be holding cultural observances pending further guidance
As a guide, all planned special activities and non-instructional events related to the former monthly
cultural awareness observances will not be held pending further guidance. No man-hours or
government resources are authorized for the planning, preparation, or execution of such activities or
events currently. All internal and external communication platforms including but not limited to
school social media accounts and websites, should refrain from disseminating information regarding
the former monthly cultural awareness observances.

Host Nation language and culture classes, international exchanges, and the like, are permitted to
continue as scheduled.
School administrators should communicate that prohibited events which have been planned already
are currently cancelled pending further guidance from the DoD
Review email signature blocks
Email signature blocks must not include self-identified pronouns and should not include quotes,
sayings, or mottos.
Review and revise locally created documents
School-level documents requesting student information must use the term "sex" not "gender."
Ensure available responses are "male" or "female" only, without reference to gender. This also
applies to informal forms and personal data collection created by an educator, counselor, nurse,
coach, or other staff.
Ensure compliance of school facilities, programs, and activities
All facilities, programs, and activities designated as for girls may only be accessed by biological
females and all facilities, programs, and activities designated as for boys may only be accessed by
biological males. This includes athletic activities. A student's sex is the sex recorded in his/her
official school record.
Assess signage
Any signage supporting the inculcation or promotion of gender ideology must be removed. Signage
for shared intimate spaces, such as restrooms and locker rooms, shall use the terms "women,"




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"woman," "girls," "girl," "men," "man," "boys" or "boy." Single-user unisex facilities remain
available to anyone of either sex.

Curriculum, policies, databases, contracts
Curriculum guidance for classroom instruction related to gender ideology and discriminatory equity
ideology has been issued identifying selected instructional resources that should not be used by
DoDEA educators during the operational compliance review.

Continue teaching to standards with DoDEA adopted resources, except for the resources potentially
related to gender ideology and discriminatory equity ideology that are under the operational
compliance review.

Information Specialists must ensure books potentially related to gender ideology or discriminatory
equity ideology are removed from the student section of the Information Center and placed in the
professional collection. Specific instructions for removing books will be provided to school
administrators.

Key personnel at DoDEA Headquarters are addressing compliance actions that apply activity-wide,
such as modifications to official DoDEA policy, forms, document, electronic communication and
database systems, contracts, curriculum and any additional items that originate out of Headquarters.
Counseling Services
If a student is experiencing emotional/psychological distress at school related to being recognized by
their biological sex, he/she continues to be equally entitled to the same mental health services as are
made available to any other student who is experiencing emotional/psychological distress at school
for whatever reason. The counseling support provided, however, must remain objective and neutral
in its application without taking action that would unlawfully facilitate the gender transition of a
minor student.

Thank you for your support as we implement these new DoD guidlines.

                                                           (b)(3):10 U.S.C. §130b: (b)(6)



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                                                                                                              Page 4
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                                                    Page 5

                                  Withheld pursuant to exemption

                                               (b)(5);(b)(6)

                         of the Freedom of Information and Privacy Act
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                                                   Page 6

                                  Withheld pursuant to exemption

                                               (b)(5);(b)(6)

                         of the Freedom of Information and Privacy Act
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            EXHIBIT B
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            EXHIBIT C
      Case 1:25-cv-00637-PTG-IDD   Document 10-23 Filed 05/07/25 Page 23 of 40
                                     PageID# 392
                      DEPARTMENT OF DEFENSE EDUCATION ACTIVITY
                                     AMERICAS
                             MID-ATLANTIC DISTRICT, QUANTICO FIELD OFFICE
                                        3308 JOHN QUICK ROAD
                                          QUANTICO, VA 22134
                                              703.630.7012
                                                                         February 20, 2025
    MEMORANDUM FOR RECORD
    SUBJECT:​ Minutes for the Quantico School Board Meeting of February 20, 2025
    1.​ Call to Order: The Quantico School Board meeting was called to order by Vice President, Mrs.
        Soucie, February 20, 2025 at 1:33 PM at the Crossroads ES Commons Area.
    2.​ Members Present were:
        Denise Eves, School Board Clerk
        Alexis Soucie, School Board Member​ Vice President​  ​           ​      ​      ​
        Amy Rosalez, Board Member​
        Amanda Willmoth, Board Member
        Ashley Lockridge, Board Member
        Anne Hickey, Board Member
        Austin Porter, Board Member​
        Dr. Vickie Bannerman, NYVA Community Superintendent​​
    Others Present:
​      Ben Kolodziej, Interim Crossroads Principal​​  Miles Shea, QMHS Principal​
​      Dr. Lynsee Lee, Assistant Principal, CES​   ​  ​
       Newly elected school board members were sworn in by Dr. Bannerman.
​
    1.​ Approval of Agenda: Approved agenda
    2.​ Approval of Past Minutes: Approved minutes change to November 2024.
    3.​ School Liaison Report: given by Penny Rowley
       School liaison is partnering with schools to provide bullying education and bring assemblies to
       the schools to educate the students.
       PEA Report: No PEA member was present
    4.​ School/Updates/Presentations:
       CrossroadsES: given by Ben Kolodziej and Lynsey Lee
       Kindergarten students sang to the board and those in attendance.
       Mr. Shea has been picked as the Principal of the Year for Americas.
       Introduced Dr. Lynsee Lee as the new Assistant Principal for CES.
       Enrollment: 610
       Current vacancies
       Book Fair
       Read across America
       Fun Run over $20,000 for PEA.
       NEAP testing
       New Principal will arrive in March, Dr. Mannie
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   Quantico MHS given by Miles Shea
   Thanked Dr. Lee and Mr. Kolodziej for supporting both schools.
   Enrollment: 288
   Activities include the Marine Corps Ball
   White House tour
   Athletics: great winter sport program
   Door decorating contest
   Winter Concert
   NAEP: selection of students were tested.
   April 30th to take possession of the building. DODEA is required to occupy the new school within
   90 days, and the plan is for teachers to move during the summer. Pictures were shown.

5.​ Board President Comments:
    Board Vice President thanked parents for being there, emphasized their support and highlighted
    that we are all a team. Encouraged parents to continue to voice concerns, and ask questions. If
    we do not know, we cannot help. Nice to have the parents in attendance for the meeting. School
    board email will be provided to schools and school liaison to share with parents as a means for
    them to express their concerns and have the board address them.

6.​ Community Superintendent comments:
    Pilot program:
    Dr. Bannerman shared that approval for Pilot program expansion. DODEA HQ is working on a fair
    way to allow families living off base to have their children attend Quantico schools. At this time
    she does not know when the details will be finalized, or applications will open. The application
    process is still being worked out. More to come. Dr. Bannerman explained what the Pilot
    Program is.
    Parent Monbeck: asked a question concerning the already short staffed schools and challenges
    complying with IEP’s. Asked how many teachers will be added to the team? Dr Bannerman stated
    that was part of the ongoing discussion.

7.​ Continuous Business:
    Dr. Bannerman shared that at this time actions taken in compliance with the EO: an OSHA poster
    was removed, books have been removed from the school libraries. Dr. Bannerman stated that the
    gender recognition forms have to be updated. Restrooms are girls/boys, teachers were told to
    remove pronouns from their signatures. Athletics: male/females. Diversity (DEI) posters, and
    celebrations have been removed.
    Vice president asked why the differences between QMHS and Crossroads in removal of books
    from the library (QMHS has removed 10 so far, Crossroads zero). Mr. Kolodziej stated the
    librarian completed a training, and they were still working through what the actions required
    are. Dr. Bannerman would work to get a list of removed books to parents, if allowed by DODEA
    HQ.

8.​ New Business:

9.​ Individuals Wishing to Address the Board: Letter from Director. C
    Lt. Col Keely asked what the impact from the EO has been to the schools, what is being done and
    will need to be. Specifically changes in curriculum, impact on activities (Black history month,
    women's history month etc). Dr. Bannerman stated that all requirements and changes are
    coming from DODEA HQ. Principal don’t have the information, and at this time no one has the
    information. She also shared that DODEA employees have been informed they are not to respond

                                                2
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      to media requests. DODEA HQ is working with the executive order. All guidance will come
      directly from DODEA HQ. We are a federal agency. Dr Bannerman has been told regarding the
      curriculum, is that teachers are to continue using the approved curriculum. It is inclusive and
      they are following the standards. At this time DODEA cannot highlight and celebrate cultural
      things.
      Follow-up question: How does it affect us? Dr. Bannerman stated it’s however HQ tells us.

      International parent asked: Concerned about communication and as a new family how is the
      communication passed about changes and updates.
      Dr. Bannerman responded that communication will be pushed, when they receive it and are told
      they can share it.

      Parent: Capt Haskey stated that a few unfortunate incidents have come to his attention: These
      are concerns from Crossroads staff members expressing their concerns to his wife. They include
      CES staff members not receiving a duty-free lunch break. Staff members being Inappropriately
      touched by a student, on more than one occasion. His wife has been threatened that a student
      was going to shoot her, administration at CES was informed along with his command.
      Dr. Bannerman stated she appreciated him sharing his concerns, that this is the first she was
      hearing of these issues. She asked him to either email her or speak with her after so they could
      gather further information.

      Woods: CES parent expressed concerns about her child having a LTS in the classroom, and not
      receiving information about what students are learning, or if there are concerns. Parent
      expressed that she has no clue what is being taught in class. 2nd grade.
      Mr. Kolodziej acknowledges what the parent was saying, and agreed communication could have
      been better. He shared that there will be a certified teacher on Monday for the 2nd grade.
      Vice president asked if moving forward perhaps information about changes in teachers could be
      shared with parents before changes occurred.

      Kindergarten parent: shared concerns about no communication with the teachers. She is hearing
      from others that there are concerns about her student in class, but she is not hearing from
      teachers. Is not aware of how the student is doing. Mr. K again expressed that communication
      should be better. That report cards are coming out. Vice president asked about progress reports,
      don’t these come out quarterly?
      Dr. Bannerman stated that we need to have reasonable expectations of our teachers. It’s a lot for
      the teachers to communicate weekly and send out information. But she will discuss with the
      principals and come to a solution.

10.​Announcement of Next Meeting: The next school board meeting will be held on March 13th at
    Quantico MHS Media Center at 11:30 AM.
1.​   Adjournment. Vice President motioned to adjourn the meeting. The Quantico School Board
meeting was adjourned at 3:00 PM.
      ​

Respectfully submitted,


​     ________________________________​           ​      _________________________________
    ​ ​     Dr. Vickie Bannerman​     ​           ​      ​     Marta Sullivan
    ​ NYVA Community Superintendent​ ​            ​        School Board President

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            EXHIBIT D
Gmail - Clarification on withdrawn books?                             https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                                                                         Paul Keeley <keeleyp1@gmail.com>



          Clarification on withdrawn books?
          York, Taylor Ms. CIV OSD/DoDEA-HQ <Taylor.York@dodea.edu>                         Tue, Mar 4, 2025 at 11:19 AM
          To: Paul Keeley <keeleyp1@gmail.com>, "Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas"
          <Pamela.Westbrook@dodea.edu>, "Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas" <Lynsey.Lee@dodea.edu>, "Kolodziej,
          Benjamin Mr. CIV OSD/DoDEA-Americas" <Benjamin.Kolodziej@dodea.edu>
          Cc: "O'day, Michael Mr. CIV OSD/DoDEA-Americas" <Michael.Oday@dodea.edu>, DoDEA Americas Supt NY/VA
          <DoDEAAmericasSuptNY/VA@dodea.edu>, "Lindsey N. Keeley" <lindseykeeley44@gmail.com>, Americas PAO
          <americaspao@dodea.edu>


            Dear Paul Keeley,

            Please note the exceptions in Section 589 subsection (c) of the National Defense Authorization
            Act of FY 2024 that make clear certain rights enumerated are not in effect until two years after the
            effective date of the NDAA FY2024. The effective date is December 22, 2023, so the following
            provisions are not effective until December 22, 2025:

                    ‘‘(c) EXCEPTIONS.—

                             1. Paragraph (5) of subsection (a) and paragraph (3) of subsection (b) shall not be
                                effective until the day that is two years after the date of the enactment of the
                                National Defense Authorization Act for Fiscal Year 2024.



            Paragraph (5) of subsection (a) reads: “(a) IN GENERAL.—The parent of a child who attends a school
            operated by the Department of Defense Education Activity has the following rights…(5) The right to
            inspect a list of the books and other reading materials contained in the library of the school.”



            Paragraph (3) of subsection (b) reads: ‘‘(3) provide parents access to the online school library
            catalog;”



            As for your remaining requests, please note that disclosure of anything listed in subsection (b) must first
            be weighed against any Federal laws or regulation that would make the disclosure unlawful.



                    ‘‘(c) EXCEPTIONS.—

                             (2) A requirement set forth in subsection (b) shall not apply in a case in which the
                             requirement would violate any applicable provision of a Federal or State statute or
                             regulation.

            Adhering to the restrictions in section (c)(2) that may apply to the release of records is what the FOIA
            process exists to address. Through the FOIA process, what you are entitled to by law will be provided to
            you, in accordance with applicable law.

            Yours truly,




1 of 11                                                                                                               3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                                 https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                                              PageID# 397
            Taylor York, LLM, CCEP (Ms.)

            Civil Rights Analyst and Program Manager

            Civil Rights Program and Compliance Branch

            DoD Education Activity

            PRIVACY ACT PROTECTED: Any misuse or unauthorized disclosure of this information may result in
            both civil and criminal penalties. If you have received this correspondence in error, please notify the
            sender at once and destroy any copies.




            From: Americas PAO <americaspao@dodea.edu>
            Sent: Tuesday, March 4, 2025 9:39 AM
            To: Paul Keeley <keeleyp1@gmail.com>; Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas
            <Pamela.Westbrook@DODEA.EDU>; Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas
            <Lynsey.Lee@DODEA.EDU>; Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
            <Benjamin.Kolodziej@DODEA.EDU>
            Cc: O'day, Michael Mr. CIV OSD/DoDEA-Americas <Michael.Oday@dodea.edu>; Americas PAO
            <americaspao@dodea.edu>; DoDEA Americas Supt NY/VA <DoDEAAmericasSuptNY/VA@DODEA.EDU>; Civil
            Rights (HQ) <Civil.Rights@DODEA.EDU>; Lindsey N. Keeley <lindseykeeley44@gmail.com>
            Subject: RE: Clariﬁca�on on withdrawn books?


            Good morning LtCol,



            As noted in the DoDEA CRP guidance below, any request for such records, including a list of library books or reading
            materials, must be submitted through the official DoDEA FOIA process. You can find detailed information on how to
            submit a request, along with the necessary forms, on the DoDEA website at: https://www.dodea.edu/offices/executive-
            services/freedom-information-act-foia.



            Once your request is submitted, the FOIA office will process it in accordance with federal guidelines and provide you
            with the information you’re seeking.



            v/r

            Michael



            Michael O'Day

            Americas Communications Director

            Department of Defense Education Activity

            700 Westpark Drive Peachtree City, GA 30269

            (706) 715-9683

            Media Inquiries: AmericasPAO@dodea.edu




2 of 11                                                                                                                    3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                                    https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                                                PageID# 398
            DVIDS - Department of Defense Education Activity Americas



            “Fostering Understanding One Story at a Time!”




            From: Paul Keeley
            Sent: Tuesday, March 4, 2025 8:24 AM
            To: Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas ; Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas ; Kolodziej,
            Benjamin Mr. CIV OSD/DoDEA-Americas
            Cc: O'day, Michael Mr. CIV OSD/DoDEA-Americas ; Americas PAO ; DoDEA Americas Supt NY/VA ; Civil Rights
            (HQ) ; Lindsey N. Keeley
            Subject: Re: Clarification on withdrawn books?




            ***This message originated from outside of DoDEA.***

            Good morning Crossroads team. As I understand from the various emails I have received (below), books under review
            are being held in the professional section and have not been removed from the library. Please let me know how I can
            access a listing of the holdings within the professional section, or let me know a good time to come review the
            holdings in person.



            As stated in the Code of Federal Regulations, Title 10, Section 2164a, parents of DoDEA children have:



            (5) The right to inspect a list of the books and other reading materials contained in the library of the school




            Since I’ve been told that these materials have not been removed, and the law does not differentiate between student/
            professional holdings, I would like to exercise my right to inspect the list of ALL books and reading materials contained
            in the library of the school. I have extensively searched through the online library listings since receiving the below
            reply, and have noted a number of materials are no longer listed which I have good reason to believe were previously
            listed, hence my request.



            Thanks,



            Paul Keeley



                   On Feb 27, 2025, at 5:53 AM, Civil Rights (HQ) <Civil.Rights@dodea.edu> wrote:



                   Greetings, Paul Keeley.



                   You have reached the DoDEA Civil Right Program and Compliance (CRPC) Branch.


3 of 11                                                                                                                       3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                            https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                   The DoDEA CRPC Branch is an independent and impartial office within DoDEA that has
                   exclusive authority to accept and guide through to final resolution formal written reports
                   alleging Executive Order 13160 (EO 13160) discrimination in DoDEA operations. EO 13160
                   specifically mandates that, “No individual, on the basis of race, sex, color, national origin,
                   disability, religion, age, sexual orientation, or status as a parent, shall be excluded from
                   participation in, be denied the benefits of, or be subjected to discrimination in, a Federally
                   conducted education or training program or activity.”



                   DoDEA is committed to supporting a higher quality learning and work experience for its
                   students, employees, and other participants through enforcement of protections against
                   unlawful discrimination aimed at ensuring equal treatment of and appreciation for the value
                   added by each unique individual. You may visit the DoDEA CRP website at https://
                   www.dodea.edu/offices/civil-rights-program to learn more about the types of discrimination
                   protected against under EO 13160.


                   Regarding your concerns raised, below, DoDEA is required to operate lawfully in compliance
                   with Federal laws, Executive Orders, regulations and DoD policy. If any such authority is
                   changed or modified, it is not a wholesale denial of rights to pause operations and/or access
                   to resources pending a thorough review to ensure DoDEA may maintain its lawfully
                   compliant operations. Taking steps to equalize programs or policies that did not treat all
                   people and students equally in their diversity but provided more favorable treatment to one
                   group based on their protected class, alone, is not a denial of rights but a reallocation of
                   equal treatment guarantees.



                   Regarding Black History Month, the Secretary of Defense ordered a change within DoD
                   impacting the past practice of how Special Emphasis Months may be observed. The DoD
                   has directed that DoD, its components and Activities, of which DoDEA is included, “will not
                   use official resources, to include man-hours, to host celebrations or events related to cultural
                   awareness months, including National African American/Black History Month, Women's
                   History Month, Asian American and Pacific Islander Heritage Month, Pride Month, National
                   Hispanic Heritage Month, National Disability Employment Awareness Month, and National
                   American Indian Heritage Month. Service members and civilians remain permitted to attend
                   these events in an unofficial capacity outside of duty hours.” The DoD seeks to celebrate the
                   valor and success of heroes of all races, genders, and backgrounds, equally, and not put
                   people into separate boxes. Since our schools support families of active military and military
                   connected personnel, DoDEA schools are part of this less restricted approach to honoring
                   and celebrating people whose accomplishments serve the greater good. Instruction may
                   now focus on the character of the diverse people we admire and do it anytime of the year,
                   not just for one month a year.



                   Requests for what guidance was provided, what books are included in the review, what
                   criteria is being used, what is the timeline, what curriculum changes will be made, etc., are
                   all related to business operations and are, thus, business records. As a Federal agency,
                   DoDEA’s business records are governed under the Freedom of Information Act (FOIA).
                   Federal employees are not free to release business records at will. Any requests for
                   business records must be submitted through the DoDEA FOIA process, located at https://
                   www.dodea.edu/offices/executive-services/freedom-information-act-foia.



4 of 11                                                                                                              3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                               https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                                            PageID# 400

                   Yours truly,



                   Civil Rights Program and Compliance Branch

                   DoD Education Activity

                   4800 Mark Center Drive

                   Alexandria, VA 22350

                   PRIVACY ACT PROTECTED: Any misuse or unauthorized disclosure of this information
                   may result in both civil and criminal penalties. If you have received this correspondence in
                   error, please notify the sender at once and destroy any copies.


                   From: O'day, Michael Mr. CIV OSD/DoDEA-Americas <Michael.Oday@dodea.edu>
                   Sent: Wednesday, February 26, 2025 11:13 PM
                   To: Paul Keeley <keeleyp1@gmail.com>; Civil Rights (HQ) <Civil.Rights@DODEA.EDU>
                   Cc: Americas PAO <americaspao@dodea.edu>; DoDEA Americas Supt NY/VA
                   <DoDEAAmericasSuptNY/VA@DODEA.EDU>; Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
                   <Benjamin.Kolodziej@DODEA.EDU>; Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas
                   <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas
                   <Pamela.Westbrook@DODEA.EDU>
                   Subject: Re: Clarification on withdrawn books?



                   LtCol,



                   Please contact the DoDEA Civil Rights Program at Civil.Rights@dodea.edu with any further questions
                   on this topic.



                   v/r
                   Michael

                   Michael O'Day
                   Americas Communications Director
                   Department of Defense Education Activity
                   700 Westpark Drive Peachtree City, GA 30269
                   (706) 715-9683
                   Media Inquiries: AmericasPAO@dodea.edu

                   DVIDS - Department of Defense Education Activity Americas
                   “Fostering Understanding One Story at a Time!”

                   From: Paul Keeley <keeleyp1@gmail.com>
                   Sent: Wednesday, February 26, 2025 10:33:28 PM
                   To: O'day, Michael Mr. CIV OSD/DoDEA-Americas <Michael.Oday@dodea.edu>; Civil Rights (HQ)
                   <Civil.Rights@DODEA.EDU>
                   Cc: Americas PAO <americaspao@dodea.edu>; DoDEA Americas Supt NY/VA
                   <DoDEAAmericasSuptNY/VA@DODEA.EDU>; Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
                   <Benjamin.Kolodziej@DODEA.EDU>; Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas
                   <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas



5 of 11                                                                                                                 3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                                   https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
                   Case 1:25-cv-00637-PTG-IDD                 Document 10-23           Filed 05/07/25         Page 32 of 40
                                                                PageID# 401
                   <Pamela.Westbrook@DODEA.EDU>
                   Subject: Re: Clarification on withdrawn books?




                   ***This message originated from outside of DoDEA.***

                   Thank you for your note and the additional contact. I have two additional questions based on this
                   response--perhaps the Civil Rights Program can clarify. As noted before, I am requesting this
                   information in my personal capacity as a parent of two children within DoDEA schools.



                   First, is it the position of DoDEA that the Letter to Parents dated 10 February fulfills the statutory
                   requirement contained in 10 USC Sec 2164a to notify parents of an alteration of academic standards?



                   Second, in light of Mr. O'Day's statement that "no books have been permanently removed," can you
                   please provide the expected length of time wherein these books will be inaccessible to the students?
                   Timelines matter--for example, if the resources listed for the 4th grade are not returned to use before the
                   end of the school year, then my oldest--PII     -will not receive that block of instruction per the current
                   approved DoDEA curriculum. Likewise, Black History Month ends in two days; even if the 6th Grade
                   module on Black History Month were returned to the classroom by next Monday, it will have effectively
                   been removed for the entire 6th grade for this academic year.



                   I also understand from this response that the online school library catalog will contain all books within
                   the school library and thus (as of today) will reflect that no books have been removed at the present
                   time. Access to their children's school catalog by a parent, again, is guaranteed by 10 USC Sec 2164a
                   and I therefore expect that my local DoDEA school will have no issues providing me access to that full
                   listing without further permission from DoDEA HQ.



                   Thank you for your consideration.



                   -Paul Keeley

                   keeleyp1@gmail.com

                   PII            (cell / Signal)



                   On Wed, Feb 26, 2025 at 7:42 AM O'day, Michael Mr. CIV OSD/DoDEA-Americas
                   <Michael.Oday@dodea.edu> wrote:

                      LtCol,



                      Thank you for reaching out.

                      As a field activity of the Office of the Secretary of Defense, I can assure you that we are in
                      compliance with all applicable executive orders and Department of Defense guidance.

                      Teaching students about the lives and experiences of people from different backgrounds than their
                      own is part of the high-quality education DoDEA offers. We expect little to no impact on our students
                      while ensuring each learner receives appropriate direction to excel at their own pace and in their own



6 of 11                                                                                                                        3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                                   https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
                   Case 1:25-cv-00637-PTG-IDD                 Document 10-23           Filed 05/07/25        Page 33 of 40
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                      way.

                      No materials have been permanently removed from our school libraries pending completion of the
                      review. During this period, materials under review will have access limited to professional staff.

                      We appreciate your continued support in your child’s education.

                      Please contact the DoDEA Civil Rights Program at Civil.Rights@dodea.edu with any further
                      questions on this topic.



                      v/r

                      Michael



                      Michael O'Day

                      Americas Communications Director

                      Department of Defense Education Activity

                      700 Westpark Drive Peachtree City, GA 30269

                      (706) 715-9683

                      Media Inquiries: AmericasPAO@dodea.edu



                      DVIDS - Department of Defense Education Activity Americas



                      “Fostering Understanding One Story at a Time!”




                      From: Paul Keeley <keeleyp1@gmail.com>
                      Sent: Tuesday, February 25, 2025 10:50 PM
                      To: Americas PAO <americaspao@dodea.edu>; DoDEA Americas Supt NY/VA VA@DODEA.EDU>
                      Cc: Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas <Benjamin.Kolodziej@DODEA.EDU>; Lee,
                      Lynsey Dr. CIV, OSD/DoDEA-Americas <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela Dr. CIV
                      OSD/DoDEA-Americas <Pamela.Westbrook@DODEA.EDU>
                      Subject: Re: Clarification on withdrawn books?




                      ***This message originated from outside of DoDEA.***

                      Good evening,



                      I'm writing to follow up on the below request, as well as to address additional questions that I have
                      following the Quantico school board meeting held last week. While I have yet to receive anything
                      through official channels, I am now in possession of the memo dated 5 February (with attachment A)
                      detailing the initial tranche of immediately withdrawn materials--which included both library books as
                      well as curricular materials. I received this from multiple corroborating sources external to the school,
                      to include my congressman's office, media outlets, and other concerned parents from different parts


7 of 11                                                                                                                       3/20/2025, 10:44 PM
Gmail - Clarification on withdrawn books?                                     https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                      of the DoDEA system.



                      I'm trying to reconcile this information with the information provided at the school board meeting,
                      which led me to believe that the existing approved DoDEA curriculum is still being taught. The
                      majority of items in the attachment appear to be from the curriculum, and are neither supplemental
                      materials nor library books. Please clarify if the approved curriculum is still being taught--or, if not,
                      what academic or educational standards led to these changes during the school year.



                      At the meeting we were told that our school librarian received a day of training prior to beginning a
                      further review of holdings at Crossroads Elementary School. I am following up my verbal request that
                      the training materials used be provided to parents--as well as the academic or educational standards
                      that this review is founded upon.



                      I was also subsequently informed that a representative from DoDEA HQ will be inspecting/verifying
                      compliance at Quantico DoDEA schools, to include final determination of what additional materials
                      will be removed from the library. Can you please confirm or deny this; if correct, when will this
                      inspection take place? I'd also request that parents (or at minimum school board members, or the
                      MCCS School Liaison) be allowed to observe this inspection.



                      Finally, when will the consolidated list of removed materials & curriculum changes across DoDEA be
                      provided to parents?



                      Thanks,



                      -Paul Keeley

                      keeleyp1@gmail.com

                      Cell/Signal: PII



                      On Sat, Feb 15, 2025 at 10:24 AM Paul Keeley <keeleyp1@gmail.com> wrote:

                        OK, just so that I understand correctly—you either do not have, or are not authorized to provide
                        this list to parents?



                        Thanks,



                        Paul Keeley



                        Sent from my iPhone




                                On Feb 15, 2025, at 12:39 AM, Americas PAO <americaspao@dodea.edu> wrote:




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Gmail - Clarification on withdrawn books?                                   https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                LtCol,



                                I understand, and as a field activity of the Office of the Secretary of Defense, I can
                                assure you that we are in compliance with all applicable executive orders and
                                guidance.

                                Please let me know if there is anything else I can assist you with.



                                v/r
                                Michael

                                Michael O'Day
                                Americas Communications Director
                                Department of Defense Education Activity
                                700 Westpark Drive Peachtree City, GA 30269
                                (706) 715-9683
                                Media Inquiries: AmericasPAO@dodea.edu

                                DVIDS - Department of Defense Education Activity Americas
                                “Fostering Understanding One Story at a Time!”

                                From: Paul Keeley <keeleyp1@gmail.com>
                                Sent: Friday, February 14, 2025 8:56 pm
                                To: Americas PAO <americaspao@dodea.edu>
                                Cc: Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
                                <Benjamin.Kolodziej@DODEA.EDU>; Lee, Lynsey Dr. CIV, OSD/DoDEA-Americas
                                <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela Dr. CIV OSD/DoDEA-Americas
                                <Pamela.Westbrook@DODEA.EDU>; Lindsey N. Keeley
                                <lindseykeeley44@gmail.com>; Americas PAO <americaspao@dodea.edu>
                                Subject: Re: Clarification on withdrawn books?




                                ***This message originated from outside of DoDEA.***

                                Michael,



                                Thanks for your quick response outlining the ongoing policy and resource review at
                                DoDEA.



                                However, I would still like to know which specific books/resources have been
                                removed from circulation across DoDEA Information Centers/libraries. Dr. Narvaez
                                stated in her letter that “a small number” of books had been pulled for further review;
                                I am simply asking for the titles of these books so that I can be better informed as to
                                the impact of these ongoing changes.



                                As a parent of two students currently in DoDEA schools, I am hoping to receive a
                                direct answer without having to FOIA my own school system.



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Gmail - Clarification on withdrawn books?                                 https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                Thanks,



                                -Paul Keeley




                                       On Feb 14, 2025, at 4:35 PM, Americas PAO
                                       <americaspao@dodea.edu> wrote:



                                       Good afternoon LtCol and Mrs. Keeley,

                                       Thank you for reaching out.
                                       DoDEA is reviewing its current policies and instructional resources in
                                       light of recent Executive Orders and Department of Defense guidance.
                                       Teaching students about the lives and experiences of people from
                                       different backgrounds than their own is part of the high-quality
                                       education DoDEA offers. However, there are some resources that
                                       appear to be in violation of the spirit of recent directives. DoDEA is
                                       reviewing its library collections for compliance as part of a larger
                                       review.
                                       We anticipate little to no impact on students learning in an
                                       academically rigorous environment, continuing to provide the highest
                                       quality educational services to all our military-connected students.
                                       While ensuring each learner receives appropriate guidance to excel at
                                       their own pace and in their own way.
                                       We appreciate your continued partnership in your child’s education.

                                       v/r
                                       Michael
                                       Michael O'Day
                                       Americas Communications Director
                                       Department of Defense Education Activity
                                       700 Westpark Drive Peachtree City, GA 30269
                                       (706) 715-9683
                                       Media Inquiries: AmericasPAO@dodea.edu

                                       DVIDS - Department of Defense Education Activity Americas
                                       “Fostering Understanding One Story at a Time!”

                                       From: Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
                                       <Benjamin.Kolodziej@DODEA.EDU>
                                       Sent: Friday, February 14, 2025 4:24 PM
                                       To: Paul Keeley <keeleyp1@gmail.com>; Lee, Lynsey Dr. CIV, OSD/
                                       DoDEA-Americas <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela
                                       Dr. CIV OSD/DoDEA-Americas <Pamela.Westbrook@DODEA.EDU>
                                       Cc: Lindsey N. Keeley <lindseykeeley44@gmail.com>; Americas PAO
                                       <americaspao@dodea.edu>
                                       Subject: RE: Clarification on withdrawn books?

                                       Good Afternoon, LtCol and Mrs. Keeley!

                                       Thank you for your inquiry. All questions regarding DoDEA Information
                                       Centers should be directed to AmericasPAO@DoDEA.edu . They are
                                       copied on this message.


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Gmail - Clarification on withdrawn books?                                    https://mail.google.com/mail/u/0/?ik=cf3ca64494&view=pt&search=al...
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                                       I hope you enjoy a wonderful holiday weekend and many thanks for
                                       your continued partnership!

                                       Ben Kolodziej
                                       Acting Principal
                                       Crossroads ES

                                       From: Paul Keeley <keeleyp1@gmail.com>
                                       Sent: Tuesday, February 11, 2025 9:27 PM
                                       To: Kolodziej, Benjamin Mr. CIV OSD/DoDEA-Americas
                                       <Benjamin.Kolodziej@DODEA.EDU>; Lee, Lynsey Dr. CIV, OSD/
                                       DoDEA-Americas <Lynsey.Lee@DODEA.EDU>; Westbrook, Pamela
                                       Dr. CIV OSD/DoDEA-Americas <Pamela.Westbrook@DODEA.EDU>
                                       Cc: Lindsey N. Keeley <lindseykeeley44@gmail.com>
                                       Subject: Re: Clarification on withdrawn books?




                                       ***This message originated from outside of DoDEA.***

                                       Hello, just checking to see if there is any further insight you can share
                                       on this, and adding in Drs. Lee and Westbrook. As parents of two
                                       students at CES PII                                we are following up on
                                       the message yesterday from Dr. Narvaez notifying us that a number of
                                       books have been withdrawn from DoDEA libraries/Information Centers.
                                       Can you confirm if this action affects Crossroads, and also provide the
                                       specific list of titles that are under consideration? We have not been
                                       able to find any further information on DoDEA or Crossroads websites,
                                       and would like to know how these new policies will be affecting our
                                       childrens' education both at Crossroads and beyond.

                                       Thanks,

                                       -Paul and Lindsey Keeley



                                       On Mon, Feb 10, 2025 at 8:56 PM Paul Keeley
                                       <keeleyp1@gmail.com> wrote:
                                            Good evening,

                                            As parents of two students at CES, we received an email earlier
                                            today from DoDEA notifying us that a number of books have been
                                            withdrawn from DoDEA libraries. In the interest of transparency for
                                            our children’s education, can you confirm if this action affects
                                            Crossroads, and also provide the specific list of titles?

                                            Thanks,

                                            -Paul and Lindsey Keeley

                                            Sent from my iPhone




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